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                              DEPOSITION OF DELORES FRACTIOUS
                                       November 17, 2020


·1
· · · · · · · · ·UNITED STATES DISTRICT COURT
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· · · · · · · · CENTRAL DISTRICT OF CALIFORNIA
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· · · · · · · · · · · · · ·--oOo--
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· ·   ·EBONY BALLARD, an individual,· · · · ·)
·6·   · · · · · · · · · · · · · · · · · · · ·) No. 2:20-cv-
· ·   · · · · · · · · · · · · · · · · · · · ·) 02679-MCS-PJW
·7·   · · · · · · ·Plaintiff,· · · · · · · · )
· ·   · · · · · · · · · · · · · · · · · · · ·)
·8·   · · vs.· · · · · · · · · · · · · · · · )
· ·   · · · · · · · · · · · · · · · · · · · ·)
·9·   · · · · · · · · · · · · · · · · · · · ·)
· ·   ·LOUIS DEJOY, Postmaster General of the)
10·   ·United States of America,· · · · · · ·)
· ·   · · · · · · · · · · · · · · · · · · · ·)
11·   · · · · · · · · · · · · · · · · · · · ·)
· ·   · · · · · · ·Defendant.· · · · · · · · )
12·   ·______________________________________)

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15· · · · · · · DEPOSITION OF DELORES FRACTIOUS

16· · · · · · · · Tuesday, November 17, 2020

17· · · · · · · · · · · · 1:48 p.m.

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20·   ·   ·   ·   ·   ·   · · ·Taken in the offices of:
· ·   ·   ·   ·   ·   ·   · California Deposition Reporters
21·   ·   ·   ·   ·   ·   2453 Grand Canal Boulevard, Suite J
· ·   ·   ·   ·   ·   ·   · · · Stockton, CA· 95207
22

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24· ·REPORTED BY: VICKI JELLEY, CSR NO. 11067

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                                          Exhibt A
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                                 DEPOSITION OF DELORES FRACTIOUS
                                          November 17, 2020


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·2

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19·   ·   ·   ·   · · · ·greg.agron@ventura.org

20
· ·   · · · ·ALSO PRESENT:
21
· ·   ·   ·   ·   ·   ·   ·   ·DELORES FRACTIOUS, Deponent
22·   ·   ·   ·   ·   ·   ·   · · · · · · · · ·(Via video Conference)
· ·   ·   ·   ·   ·   ·   ·   ·EBONY BALLARD, Plaintiff
23·   ·   ·   ·   ·   ·   ·   · · · · · · · · ·(Via video Conference)
· ·   ·   ·   ·   ·   ·   ·   ·VICKI JELLEY, Reporter
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                                             Exhibt A
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·1· ·Q.· · Do you think -- okay.· I'll come back to this.
·2· ·So how long were you in the restroom for?
·3· ·A.· · Probably like -- maybe like maybe 3 minutes.
·4· ·Q.· · And then when you came out, was he gone or was he
·5· ·still there?
·6· ·A.· · No.· He left.
·7· ·Q.· · And what did you do?
·8· ·A.· · I -- I believe I told Jay what happened.
·9· ·Q.· · And what did Jay say?
10· ·A.· · He was upset, and he was like, "Why didn't you
11· ·come get me?· Why didn't you come tell me?"
12· ·Q.· · Okay.· And did you respond to him?
13· ·A.· · I told him that I was scared.
14· ·Q.· · And you were scared that if you tried to tell
15· ·him, what would happen?
16· ·A.· · I just didn't want any type of drama whatsoever.
17· ·Q.· · Were you able to continue working that day, or
18· ·did you have to go home?
19· ·A.· · I stayed working.· I wasn't able to leave.
20· ·Q.· · Did you take any time off after that happened?
21· ·A.· · No.
22· ·Q.· · Did you feel --
23· ·A.· · I'm sorry?
24· ·Q.· · I'm just -- I'm sorry.· I was just thinking.· Did
25· ·you tell anyone besides Jay what had happened?


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                                       Exhibt A
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·1· ·A.· · I told my mom.
·2· ·Q.· · Did you tell anybody at the post office besides
·3· ·Jay what had happened?
·4· ·A.· · No.
·5· ·Q.· · And what -- what was the reason that you didn't
·6· ·tell anybody besides Jay?
·7· ·A.· · I didn't feel like I could trust anybody.                   I
·8· ·didn't know really who to go to.
·9· ·Q.· · What about the supervisors?· Why did you feel
10· ·that you couldn't tell Miss Arguello?
11· ·A.· · I didn't really feel like I could trust her to
12· ·tell her something like that.
13· ·Q.· · And why did you not think that you could trust
14· ·her?
15· ·A.· · It's just her character as a person.· She just
16· ·doesn't seem like to me a good person that would try to
17· ·help you.
18· ·Q.· · What about any of the other supervisors?· Did you
19· ·feel you could tell them?· Why did you feel you
20· ·couldn't tell them?· I'm sorry.
21· ·A.· · I just didn't feel like I could trust them.                     I
22· ·mean....
23· ·Q.· · Okay.· And just to get a little more information
24· ·on why you couldn't trust them, what were you afraid
25· ·that they might do if you told a supervisor?


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                                       Exhibt A
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·1· ·A.· · I didn't really think that far down.· I just
·2· ·didn't feel comfortable with sharing that information
·3· ·with them.· I didn't know what they could do.                  I
·4· ·just -- I just didn't feel comfortable with sharing it
·5· ·with them.
·6· ·Q.· · Okay.· You didn't feel that they would
·7· ·investigate what you had told them?
·8· ·A.· · They might have, but, again, I just -- I just
·9· ·didn't feel like they would try and help.
10· ·Q.· · Did you talk to Jay more about it after that day?
11· ·A.· · I think I talked to him about it a little bit
12· ·more, just telling him, "I can't believe he did that,"
13· ·and how uncomfortable I was with it.
14· ·Q.· · Do you know if Jay told anybody about what had
15· ·happened?
16· ·A.· · I believe he mentioned it to Ebony, but I believe
17· ·it was probably -- I don't know if it was way after the
18· ·fact.· I'm not sure when.
19· ·Q.· · Do you know if he told anybody else?
20· ·A.· · Not that I know of.
21· ·Q.· · Is Mr. Wysinger's attack one of the reasons you
22· ·left the Del Amo -- the post office?
23· ·A.· · No.· I was already trying to get transferred, and
24· ·it just was even -- you know, even more better for me
25· ·to just get out of there, you know, after that


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                                       Exhibt A
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                        DEPOSITION OF DELORES FRACTIOUS
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·1· ·situation.
·2· ·Q.· · Do you think that there's something that the
·3· ·postal service could have done better at the Del Amo
·4· ·station, other than being at the Torrance post office
·5· ·to protect you?
·6· ·A.· · Maybe if they had known, maybe they would have.
·7· ·Q.· · All right.· But you said you didn't trust the
·8· ·supervisors; is that correct?
·9· ·A.· · That's correct.
10· ·Q.· · Pardon me?
11· ·A.· · I said, "Yes, that's correct."
12· ·Q.· · Okay.· I -- do you know that -- whether --
13· ·besides yourself and Miss Ballard, whether Mr. Wysinger
14· ·attacked any other women at the Torrance post office?
15· ·A.· · Not that I know of.
16· ·Q.· · Did he have any kind of reputation at the
17· ·Torrance post office?
18· ·A.· · I didn't hear anything of it.
19· ·Q.· · How old -- do you have any idea how old
20· ·Mr. Wysinger is?
21· ·A.· · I don't know for sure, but I know he's older.
22· ·Maybe like mid-50's, late 50's.
23· ·Q.· · He's a lot older than you; is that correct?
24· ·A.· · Yes.
25· ·Q.· · Now, besides today and in talking to your lawyers


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                                       Exhibt A
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                        DEPOSITION OF DELORES FRACTIOUS
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·1· ·STATE OF CALIFORNIA,· · · · ·)
· · · · · · · · · · · · · · · · · )
·2· ·COUNTY OF SAN JOAQUIN.· · · ·)

·3

·4· · · · ·I, Vicki Jelley, a Certified Shorthand Reporter

·5· ·licensed to practice in the State of California, do

·6· ·hereby certify:

·7· · · · ·That on the 17th day of November, 2020, at the

·8· ·hour of 1:48 p.m., I was present at the above-entitled

·9· ·matter; that I took down in shorthand notes all

10· ·proceedings had and testimony given; that I thereafter

11· ·caused said shorthand notes to be transcribed into

12· ·longhand typewriting, the above and foregoing being a

13· ·full, true, and correct transcription thereof.

14· · · · ·IN WITNESS WHEREOF, I have hereunto set my hand

15· ·this 3rd day of December, 2020.

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23· · · · · · · · · · · · · · ·_____________________________

24· · · · · · · · · · · · · · ·Vicki Jelley, CSR No. 11067

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                                       Exhibt A
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